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AO 245B (Rev. 12/03)(VAED rev. 2) Sheet 1 - Judgment in a Criminal Case F | LED
UNITED STATES DISTRICT COURT JUL 22 201
Eastern District of Virginia
Newport News Division CLERK, Us. betniCs COURT

 

 

UNITED STATES OF AMERICA
v. Case Number:  4:10CR00016-001

USM Number: 74811-083
ANTHONY LEE WAINWRIGHT, JR.
a/k/a "Youngin" Defendant's Attorney: Lawrence Woodward, Jr.
Defendant. and Emily Munn

JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty on Counts 1, 2, 3, 4, 5, 6, and 7 of the Second Superseding Indictment after a trial
by jury.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.

Offense Offense
Title and Section Nature of Offense Class Ended Count

See Page 2 for Count
Information

As pronounced on July 22, 2011, the defendant is sentenced as provided in pages 2 through 7 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.

Given this 22nd day of July, 2011.
/s/

Rebecca Beach Smith
United States District Judge LEX

Rebecca Beach Smith
United States District Judge

 
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Case Number: 4:10CRC0016-001
Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.
Offense Offense
Title and Section Nature of Offense Class Ended Count
T.18:1951(a)} Conspiracy to Obstruct, Delay and Affect Felony March 7, 2011 \
Commerce by Robbery
T.18:1951(a) and 2 Interference with Commerce by Robbery Felony September 8, 2007 2
T.18:922(g)(1) Possession of a Firearm by a Convicted Felon Felony September 8, 2007 3
T.18:924(c)(1)(A) and 2 Discharge of a Firearm During a Crime of Violence Felony September 8,2007 4
T.18:924(c)(1)(A) and 2 Brandish a Firearm During a Crime of Violence Felony September 8, 2007 5
T.18:924(j) and 2 Use of a Firearm During a Crime of Violence Felony September 8,2007 6
Resulting in Death
T.18:1512(a)(1}(C), (a)(3)(A) Killing of a Witness to Prevent Communication Felony September 8, 2007 7

To Law Enforcement

The defendant has been found not guilty on Count 10 of the Second Superseding Indictment, and is discharged as
to such count. On June 17, 2011, the court entered an order vacating and dismissing defendant’s conviction on Count 7 of
the Second Superseding Indictment. On July 22, 2011, upon motion of the United States, and for the reasons
stated on the record, the court vacated defendant's conviction for the purpose of sentencing on Count 4.
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Sheet 2 - Imprisonment

 

Case Number: 4:10CR00016-001
Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of LIFE PLUS EIGHTY-FOUR (84) MONTHS. This term consists of a term of TWO HUNDRED FORTY (240)
MONTHS on Count 1, a term of TWO HUNDRED FORTY (240) MONTHS on Count 2, a term of ONE HUNDRED
TWENTY (120) MONTHS on Count 3, and a term of LIFE on Count 6, all to be served concurrently; plus a term of
EIGHTY-FOUR (84) MONTHS on Count 5, to be served consecutively.

The Court makes the following recommendations to the Bureau of Prisons:
1) The court directs that the defendant shall further his education and develop a skill.

2) The court directs that the defendant shall undergo a mental health evaluation and participate in any anger
management counseling deemed appropriate.

3) The court directs that the defendant shall participate in a substance abuse treatment program, to include the
Residential Drug Abuse Treatment Program (RDAP).

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this Judgment.
UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3 - Supervised Release

 

Case Number: 4:10CR00016-001
Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS. This
term consists of a term of THREE (3) YEARS on Count 1, a term of THREE (3) YEARS on Count 2, a term of THREE

(3) YEARS on Count 3, a term of FIVE (5) YEARS on Count 5, and a term of FIVE (5) YEARS on Count 6, all to run
concurrently.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions
of supervised release.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment
and periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependants and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any narcotic or other controlled substance or any paraphernalia related to such substances, except as prescribed by a
physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law

enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement

agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the

defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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Sheet 3A - Supervised Release

 

Case Number: 4:10CR00016-001
Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.

SPECIAL CONDITIONS OF SUPERVISION

While on supervised release, pursuant to this Judgment, the defendant shall also comply with the following
additional special conditions:

1)

2)

3)
4)

5)

6)

The defendant shall continue to participate in a substance abuse treatment program at the direction and
discretion of the probation officer.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of
the probation officer.

The defendant shall provide the probation officer access to any requested financial information.

The defendant shall apply monies received from income tax refunds, lottery winnings, inheritances,
judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial
obligation.

The defendant shall pay for the support of any minor children in the amount ordered by any social service
agency or court of competent jurisdiction. In the absence of any such order, payments are to be made on a
schedule to be determined by the court at the inception of supervision, based on defendant’s financial
circumstances.

The court does not deny federal benefits because the denial is not applicable.
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Sheet 5 - Criminal Monetary Penalties

 

Case Number: 4:10CR00016-001
Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Fine Restitution
I $100.00 $0.00 $164.00
2 $100.00 $0.00 $0.00
3 $100.00 $0.00 $0.00
5 $100.00 $0.00 $0.00
6 $100.00 $0.00 $0.00
TOTALS: $500.00 $0.00 $164.00
FINES

No fines have been imposed in this case.

COSTS

The Court waives the cost of prosecution, incarceration, and supervised release.

RESTITUTION

The defendant must make restitution to the following payees in the amount listed below.

Bodie-Noell Enterprises $164.00
Attention: Ted A. Polensky, Director of Loss Prevention

1021 Noell Lane

Rocky Mount, North Carolina 27802

TOTAL RESTITUTION $164.00

The defendant is jointly and severally liable for restitution with Henry Lee Thadeus Stapleton (docket no. 4:10cr16-2),
Michael Johnson, Jr. (docket no. 4:10cr16-3), and Marvin Lionel Dunn (docket no. 4:09cr97).
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Sheet 6 - Schedule of Payments

 

Defendant's Name: ANTHONY LEE WAINWRIGHT, JR.
Case Number: 4:10CR00016-001

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

The special assessment and restitution shall be due in full immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the
United States.
